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2:15-cv-79




         Stephen Samuels
         U.S. Dept. of Justice
         Environment & Natural Resources Division
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         Washington , DC 20044-7611




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                                 United States District Court
                                  Southern District of Georgia
                                             Brunswick Division



       STATE OF GEORGIA,et al.,               .
                                              )
       vs.                                    )        CASE NUMBER:CV 215-79
       ANDREW WHEELER,etal.,                  )

                                                   NOTICE


       You are hereby notified that a motion for summary judgment was filed by: Intervenor Defendants
                                     on                10/10/2018                  .The motion will be submitted
for decision by the Court pursuant to the local rules. Unless you file for and are granted an extension oftime to
respond, all pleadings, affidavits,and other evidence in opposition to this motion for summaryjudgment MUST be
filed with the Oerk's office ON OR BEFORE                                                              days).
       You need to know that:
        1.     Ifyoudo not timely respond to this motion for summaiyjudgment,the consequence may be that the
               Court will deem the motion unopposed,and the Court may enterjudgment against you.
       2.      Ifyour opponentfs Statement ofMaterial Facts sets forth fects supported by evidence,the Court may
               assume that you admit all such facts unless you oppose those facts with your own Statement ofMaterial
               Facts which also sets forth facts supported by evidence. Also, your opponent may use its Statement of
               Material Facts to show that there is insufficient evidence to support your claims or defenses.
        3.     Ifa summary judgment motion is properly supported, you may not rest on the allegations
               in your pleadings alone. To oppose a properly supported motion for summaryjudgment,
               you will probably need to rebut it with admissible evidence.
        4.     You have a right to file affidavits or other material in opposition to the motion for summaiy
               judgment.
        5.     Federal Rule of Civil Procedure 56 governs summaiyjudgment motions. You should consult this rule
               as well as the Local Rules for the Southern District ofGeorgia,especially Local Rule 56.1.
        6.     Pursuant to Rules 5 &6 of the Federal Rules of Civil Procedure,a response is due
               within 21 days of service.
    IF YOU DO NOT RESPOND AS DIRECTED IN THIS NOTICE,THE COURT MAY ENTER A FINAL
       JUDGMENT AGAINST YOU WITHOUT A FULL TRIAL OR ANY OTHER PROCEEDINGS.

I certify that this 10th day of         October            2018 ,a correct copy ofthis notice was sent
electronically through CM/ECF to all parties in this case in accordance with this Court's Administrative
Procedures. I further certify that any party not authorized to receive notification of electronic filing has been
sent a correct copy of this notice via US Mail.

                                          SCOTT L. POFF, CLERK

                                       BY: /s/ Claudette Robinson
                                                DEPUTY CLERK
